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                  EXHIBIT 17
                                                                     Case 1:11-cv-07550-GBD-SN Document 372-17 Filed 03/03/22 Page 2 of 2
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                    Group alleges US firm's tanker illicitly                                                                                                          Top Stories

                    traded Iran oil                                                                                                                                   Russia-Ukraine live updates:
                                                                                                                                                                      Russian forces have allegedly
                    A tanker owned by a Los Angeles-based private equity firm likely took part in the                                                                 blocked Kyiv from the west
                    illicit trade of Iranian crude oil at sea despite American sanctions targeting the                                                                2 minutes ago
                    Islamic Republic
                                                                                                                                                                      CDC eases masking
                    By JON GAMBRELL Associated Press                                                                                                                  recommendations for 70% of
                    February 17, 2022, 9:46 AM • 4 min read                                                                                                           country, including inside
                                                                                                                                                                      schools
                                                                                                                                                                      9 minutes ago
                    DUBAI, United Arab Emirates -- A tanker owned by a Los Angeles-based
                    private equity firm likely took part in the illicit trade of Iranian crude oil at                                                                 Biden calls a desperate but
                    sea despite American sanctions targeting the Islamic Republic amid the                                                                            defiant Zelenskyy as Russian
                                                                                                                                                                      forces close in on Kyiv
                    collapse of its nuclear deal with world powers, an advocacy group alleges.
                                                                                                                                                                      2 hours ago
                    The firm said Thursday it is cooperating with U.S. government
                    investigators.                                                                                                                                    Biden nominates Judge Ketanji
                                                                                                                                                                      Brown Jackson to be first Black
                                                                                                                                                                      woman on Supreme Court
                    The group United Against Nuclear Iran raised its allegations in a letter                                                                          2 hours ago
                    dated Tuesday to Oaktree Capital Management, which holds assets worth
                                                                                                                                                                      This is when NATO would get
                    over $160 billion. Satellite images and maritime tracking data analyzed by
                                                                                                                                                                      involved with the Russia-
                    The Associated Press correspond to the group's identification of the vessels                                                                      Ukraine conflict
                    allegedly involved and showed them side-by-side oﬀ the coast of Singapore                                                                         Feb 24, 10:24 PM

                    on Saturday.




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                    The alleged oil transfer comes as world powers and Iran negotiate in
                    Vienna over restoring the nuclear deal. That accord saw Tehran drastically
                    limit its enrichment of uranium in exchange for the lifting of economic
                                                                                                                                                                      24/7 coverage of breaking news and live events
                    sanctions — including those targeting its crucial oil sales.

                    But Iran even under American sanctions claims to be selling billions of
                    dollars more of crude than before, likely buoyed by energy prices rising to
                    their highest point in years amid the ongoing Ukraine crisis. That makes                                                                                   Web Page Blocked
                    the sales even more lucrative and increases the challenge of enforcing
                                                                                                                                                                               Access to the web page you
                    sanctions if the Vienna talks collapse.                                                                                                                    were trying to visit has
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                    In a statement to the AP, Oaktree subsidiary Fleetscape — which owns the                                                                                   policy. If you believe you
                    oil tanker Suez Rajan — said it is “committed to using best practices in its                                                                               have reached this page in
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                    operations and complying with U.S. sanctions laws.”                                                                                                        website, please contact the

                    “We take any allegation of non-compliance very seriously and are
                    cooperating fully with the U.S. authorities to conduct a thorough
                    investigation into this matter,” Fleetscape said.

                    The company did not elaborate. The U.S. State Department did not
                    immediately respond to a request for comment. The U.S. Treasury, which
                    investigates and enforces sanctions, declined to comment.

                    Satellite-tracking data from MarineTraﬃc.com analyzed by the AP showed
                    the Marshall Island-flagged Suez Rajan in the South China Sea oﬀ the
                    northeast of Singapore on Saturday. That data also shows the Panamanian-
                    flagged oil tanker Virgo in the same area.

                    Satellite photos from Planet Labs PBC of that area obtained by the AP
                    appear to show the ships alongside each other. At sea, oil tankers can
                    funnel crude between each other in a ship-to-ship transfer that typically
                    sees boats in a similar position.

                    In separate Planet Labs satellite images from Jan. 16, the Virgo appears to
                    be loading crude oil from Iran's Khargh Island, its main oil distribution
                    terminal in the Persian Gulf. Tracking data separately shows the vessel near
                    Khargh around that time before heading to Singapore.

                    United Nations records show the Virgo's owners as a company out of
                    Suriname, which could not be immediately reached for comment.

                    Iran's mission to the United Nations also did not respond to a request for
                    comment.

                    Iran's 2015 nuclear deal with world powers saw it regain the ability to sell oil
                    openly on the international market. But in 2018, then-President Donald
                    Trump unilaterally withdrew from the accord and re-imposed American
                    sanctions. That slammed the door on much of Iran's lucrative crude oil
                    trade, a major engine for its economy and its government.

                    But in recent months, Iranian oﬃcials have been suggesting they've been
                    able to sell crude oil anyway around American sanctions. The Central Bank
                    of Iran issued statistics at the start of February suggesting it made $18.6
                    billion in oil sales in the first half of this Persian year, as opposed to $8.5
                    billion the same period last year, according to the state-run IRAN
                    newspaper.

                    Much of that oil is believed to be heading to China, some through similar
                    ship-to-ship transfers that United Against Nuclear Iran believes took place
                    with the Suez Raja this week. Venezuela also has received Iranian tankers to
                    its ports.

                    Iran is “dependent on the international shipping industry for imports of
                    sensitive technology and industrial goods as well as oil and petrochemical
                    exports needed to fund” its nuclear program, the New York-based United
                    Against Nuclear Iran said in its letter to Oaktree Capital.

                    The U.S. government also has said Iranian oil sales revenue funds the
                    paramilitary Revolutionary Guard's Quds Force, an expeditionary unit
                    believed to be working abroad in countries like Iraq, Lebanon, Syria and
                    Yemen to back Iranian-allied militias.

                    ———

                    Associated Press writer Amir Vahdat in Tehran, Iran, contributed to this
                    report.

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                    Follow Jon Gambrell on Twitter at www.twitter.com/jongambrellAP.

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                    This story has been corrected to show the Virgo is a Panamanian-flagged
                    ship owned by a company in Suriname.


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                    gets prison                              maintains her innocence                   fiance, GOP fundraiser
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